             Case 1-12-45757-nhl          Doc 193       Filed 12/26/18     Entered 12/26/18 11:51:08




    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK
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    In re:                                                      Chapter 7

    LORING ESTATES LLC, et al., 1                               Case No. 12-45757 (NHL)

                       Debtors.

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                ORDER DENYING MOTION OF GRIFFON LORING LLC
                 PURSUANT TO 11 U.S.C. §§ 105(a) AND 363(d)(2)(A) OF
       THE BANKRUPTCY CODE LIFTING AUTOMATIC STAY WITH RESPECT TO
      DEBTOR’S INTERESTS IN SEVEN (7) PROPERTIES IN BROOKLYN, NEW YORK

             UPON the Motion of Griffon Loring LLC Pursuant to 11 U.S.C. §§ 105(a) and 363(d)(2)(A)

[sic] of the Bankruptcy Code Lifting Automatic Stay with Respect to Debtor’s Interests in Seven (7)

Properties in Brooklyn, New York (the “Motion”) [Docket No. 179] of Griffon Loring LLC, seeking

relief from the automatic stay; and the Objection of the Chapter 7 Trustee to Motion of Griffon Loring

LLC Pursuant to 11 U.S.C. §§ 105(a) and 363(d)(2)(A) of the Bankruptcy Code Lifting Automatic

Stay with Respect to Debtor’s Interests in Seven (7) Properties in Brooklyn, New York [Docket No.

181]; and the Objection of Stout Street Fund, I, L.P. to Griffon Loring, LLC’s Motion for Lifting of

the Automatic Stay [Docket No. 183]; and the Reply to Objections of the Chapter 7 Trustee and Stout

Street Fund LLP to Motion of Griffon Loring LLC Pursuant to 11 U.S.C. §§ 105(a) and 363(d)(2)(A)

of the Bankruptcy Code Lifting Automatic Stay with Respect to Debtor’s Interests in Seven (7)

Properties in Brooklyn, New York [Docket No. 186] filed on behalf of Griffon Loring LLC; and the

Opposition to Griffon Loring’s Motion Pursuant to 11 U.S.C. §§ 105(a) and 363(d)(2)(A) of the

Bankruptcy Code Lifting the Automatic Bankruptcy Stay with Respect to Seven Properties in


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  The other Debtors in these Chapter 7 cases are In re Halifax Group LLC, Case No. 12-45736 (NHL), In re Edgewater
Development, Inc., Case No. 12-45759 (NHL), In re Group Kappa Corp., Case No. 12-45761 (NHL) and In re Plaza Real
Estate Holdings, Inc., Case No. 12-45764 (NHL). Other cases were the subject of “no asset” reports with this sole case
left for administration before this Court.
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Brooklyn, New York [Docket No. 187] filed on behalf of Fred Harry, et al.; and a hearing having

been held before this Court on December 11, 2018 (the “Hearing”); and the record of the Hearing,

which is herein incorporated; and due deliberation and sufficient cause appearing therefor, it is hereby

       ORDERED, that the Motion be, and hereby is, denied with prejudice and without costs.




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   Dated: December 26, 2018                                           Nancy Hershey Lord
          Brooklyn, New York                                     United States Bankruptcy Judge
